From: Nicole Galante nicole.galante @stonybrook.edu .
Subject: Re: English Teacher Education Program Ame
Date: October 17, 2017 at 9:08 AM
To: Danielle Sutton danielle.sutton@stonybrook.edu
Cc: Melissa Jordan MELISSA. JORDAN@STONYBROOK.EDU, Charles Taber charles. laber @slonybrook.edu
Bee: Kenneth Lindblom kenneth lindblom@stonybrook.edu

Danielle,
Please note a correction to number 4 below:

CEE 590 Is an A-F graded course. Therefore, if you continue student teaching in the Spring, your grade will be changed from an
Incomplete ("1") to a latter grade of A-F.

CEQ 591 and 592 are SAJ graded courses. If you continue student teaching in the Spring, your grade will be changed frem an
Incomplete ("T} to a S/U grade.

“NG

On Oct 18, 2017, at 3:30 PM, Nicole Galante <nicole.galante@ stonybrock.edu> wrote:

Danielle.

I have not received a response (rom you regarding our discussion about your continuation in the English Teacher Education
Program. | am writing you now to formalize the discussion.

In erder te continue in the English Teacher Education Program and to have the opportunity to continue your student teaching in the
Spring, 2018 semester, you must agree to meet the expectations below. Please indicate your agreement to thase terms by
respalding to this email by Tuesday, October 24 (one week from today}. If | do not receive a positive response from you by then, |
will request your formal dismissal from the English Teacher Education Program.

1. You will be raquired to complete deep refiaciion on your practice, professionalism, and commitment to the profession and to
speak to the issues identified based on the reviews of your jessons and dispositions that | have recelved fram your CT and
University Supervisor (see atiached)}.

2, You will meet with Dr. Galante during the week of December 11, 2047. to discuss whether you are ready to begin a second
student teaching placement.

3. If you are permitted to continue student teaching, you will do so in Spring, 2018 (beginning in January, before the official start ol
the semester al Stony Brook) and you will do so alter signing a cantract that details the requirements of your commitment (see
altached}.

4, Yau will receive a grade of "I" (Incomplete) in all three student teaching courses you have registered for for Fall 2017. If you are
permilled lo conlinue student teaching, then those grades can be canverted to "P/F" grades. If not, you will receive no credit for the
course ("N/C"),

Sincerely,
Dr. Galante

Nicole Galante, Ph.D

Acting Director, English Teacher Education Program

English Department

Stony Brook University

Office:Humanities 2084

Office: 631.632.7303

Fall 2017 Office Hours Beginning 8/30/17: W-3:00-4:00, Th-3:30-5:30, by appointment
Facebook | Twitter

nicole .galante@stonybrook.edu

qi Stony Brook University

<DanielleSuttonCentract.docx><DanialleSutionReflectionGuidelines.dock>

 
Danielle Sutton

Spring 2018 Student Teaching Contract:

J understand that I am expected to student teach for 75 days of school, and that I am expected to
be on time every day and stay for the entire school day.

I understand that any latenesses, absences, or failures to turn in written lesson plans and other
work will negatively impact my ability to continue student teaching.

I understand that I will compose a lesson plan for each lesson I teach, and that my planning will
be done in conjunction with conversations and review by my cooperating teacher.

I understand that I am a guest in my cooperating teacher’s classroom and that my cooperating
teacher’s professional decisions regarding the students in that class are final.

I understand that I am expected to dress and otherwise behave in professionally appropriate
ways.

I will engage in frequent communication with Professor Anthony, keeping her apprised of any
issues that arise and asking for her advice and assistance as appropriate.

ft understand that student teaching is an earned privilege that requires the endorsement of the
Director of English Teacher Education; I understand that in all my student teaching activities I
must demonstrate mastery of the discipline and pedagogy as appropriate for a beginning
teacher. I understand that if my abilities or knowledge are not sufficient, 1 may be removed
from my student teacher placement and required to complete additional tasks (including
completing additional field experience and/or taking additional coursework) before being
permitted to apply for another placement.

I understand that the Lesson Evaluation Forms (LEF) completed by my University Supervisors
and my Cooperating Teacher are used to inform decisions about my progress in the program,

I understand that the faculty of the English Teacher Education Program want to see me succeed

and will support my efforts as long as they feel sure that I am putting in all responsible efforts in
my student teaching activities.

 

Signature Date
Danielle Sutton

Reflection Requirements
Student Teaching Experience
Fall, 2017

Please reflect on the following areas in writing, noting, where applicable, evidence
from your student teaching experience during the Fall 2017 semester.

Your written reflections will be due no later than November 1, 2017. We will
meet to discuss your reflections during the week of December 11, 2017,

For each of the four areas: Professionalism, Teacher Candidate Professional
Development, Dispositions, and Pedagogy, please write 5-7 pages in response to
the following questions:

- What does success look like in this area? How do you know? What
professional resources have you found that offer guidelines or a model
for success in this area? Discuss how you can internalize these and apply
them to your own practice.

- In what ways have you been successful in this area? In what ways have
you been unsuccessful in this area?

- What will you do differently to prepare to be successful in this area in the
future? What will you do the same?

- How are you feeling about this area? How do these feelings affect your
professional approach to this area in a positive way? How do your
feelings affect your professional approach to this area in a negative way?

- What have you learned from your mentors (your professors, your
cooperating teacher) that can help you in this area? How will you apply
these lessons to your own disposition and actions in the classroom?

~ How will reflection and growth in this area affect your relationship to and
with your students? How will reflection and growth affect your students’
success in your classroom?

1, Professionalism
- Maintaining the professional duties of a classroom teacher (i.e.,
timeliness, preparedness, attending meetings about students,
communicating with parents, being collegial with other teachers/
administrators in the building).
2. Teacher Candidate Professional Development
- Review the evaluation instrument used by CTs and University Faculty at
Stony Brook below. Use these expectations to guide your reflections in
this area.

The Learner and Learning TCPDF #1 Learner Development:

 

To what extent does the teacher candidate: | g

1. Understand how learners grow and develop, recognizing that patterns of
learning and development vary individually within and across the cognitive,

 
Danielle Sutton
Reflection Requirements

Student Teaching Experience
Fall, 2017

linguistic, social, emotional, and physical areas, and designs and implements
developmentally appropriate and challenging learning experiences.
(Knowledge and Performance)

*The teacher candidate designs and implements developmentally appropriate
instructional strategies that demonstrate knowledge of how different learners
construct knowledge, acquire skills, and develop disciplined thinking processes.

*The teacher candidate understands that each student's cognitive, linguistic, social,
emotional, and physical development influences learning and makes instructional
decisions that build on students’ strengths and needs.

*The teacher candidate identifies readiness for learning and understands how
development in any one area may affect performance in others.

Comments:

 

 

The Learner and Learning TCPDF #2 Learning Differences:

 

| To what extent does the teacher candidate: B

2, Use understanding of individual differences and diverse cultures and
communities to ensure inclusive learning environments that enable each
learner to meet high standards. (Disposition)

*The teacher candidate understands and identifies differences in approaches to
learning and performance.

*The teacher candidate designs, adapts, and delivers instruction to address each
student's diverse learning

strengths and needs.

*The teacher candidate uses instructional strategies that are sensitive to students’
experiences including linguistic, social, and cultural backgrounds.

*The teacher candidate connects instruction to each student's prior knowledge and
experiences

*The teacher candidate helps all students reach their full potential.
Danielle Sutton
Reflection Requirements

Student Teaching Experience
Fall, 2017

*The teacher candidate makes students feel valued and helps them learn to value
each other.

*The teacher values diverse languages and dialects, knows about second language
acquisition processes, and knows how to incorporate instructional planning,
strategies, and resources to support language acquisition and the maintenance of
native language and culture,

Comments:

 

 

The Learner and Learning TCPDF #3 Learning Environments:

 

To what extent does the teacher candidate: B

3. Work with others to create environments that support individual and
collaborative learning, and that encourage positive social interaction, active
engagementin learning, and self motivation. (Disposition)

*The teacher candidate understands the relationship between motivation and
engagement and knows how to design learning experiences that build learner self-
direction and ownership of learning.

*The teacher candidate collaborates with learners and colleagues to develop shared
values and expectations for respectful interactions, rigorous academic discussions,
and individual and group responsibility for quality work.

*The teacher candidate values the role of learners in promoting each other’s

learning and recognizes the importance of peer relationships in establishing a
climate of learning.

*The teacher candidate is committed to supporting learners as they participate in
decision making, engage in exploration and invention, work collaboratively and
independently, and engage in purposeful learning.

Comments:

 

 

Content Knowledge TCPDF #4 Content Knowledge:

 

To what extent does the teacher candidate: (S| Bi

 

 

 
Danielle Sutton

Reflection Requirements
Student Teaching Experience
Fall, 2017

4. Understand the central concepts, tools of inquiry, and structures of the
discipline(s) s/he teaches and creates learning experiences that make these
aspects of the discipline accessible and meaningful for learners to assure
mastery of the content. (Knowledge}

*The teacher candidate’s instructional strategies demonstrate an understanding of
the major concepts, assumptions, debates, processes of inquiry, and ways of
knowing that are central to the discipline(s) s/he teaches.

*The teacher candidate builds on learners’ prior knowledge and experiences and
uses culturally and developmentally relevant content.

*Teacher candidate understands and anticipates common misconceptions in
learning the discipline and knows how to guide learners to accurate understanding
of the material.

“Instructional strategies reflect an understanding that content knowledge is not a
fixed body of facts but is complex, culturally situated, and constantly evolving.

Comments:

 

 

Content Knowledge TCPDF #5 Application of Content:

 

To what extent does the teacher candidate: Bi

5. Understand how to connect concepts and use differing perspectives to
engage learners in critical thinking, creativity, and collaborative problem
solving related to authentic local and global issues. (Knowledge and
Performance)

*The teacher candidate understands critical thinking processes and employs high
level questioning.

*The teacher candidate explores the complexities of the instructional content and
teaches students how to apply the appropriate conceptual tools from the relevant
disciplines.

*The teacher understands how current interdisciplinary themes (e.g., civic literacy,
health literacy, global awareness)
Danielle Sutton
Reflection Requirements

Student Teaching Experience
Fall, 2017

connect to the core subjects and knows how to weave these themes into meaningful
learning experiences.

*The teacher candidate uses authentic assessment to apply content knowledge to
real world problems through the lens of interdisciplinary themes (such as financial
or environmental literacy).

*The teacher candidate incorporates learner literacy development in the content
area.

The teacher candidate understands how to use digital and interactive technologies
for efficiently and effectively achieving specific learning goals.

Comments:

 

 

Instructional Practice TCPDF #6 Assessment:

 

 

To what extent does the teacher candidate: 5 g

6. Understand and use multiple methods of assessment to engage learners in
their own growth, to monitor learner progress, and to guide the teacher’s and
learner’s decision making. (Knowledge and Performance)

*The teacher candidate regularly assesses individual and group performance in

order to design and modify instruction to meet learners’ needs in each area of
development.

*The teacher candidate understands both the different types and multiple purposes
of assessment and how to design, adapt or select appropriate assessments to
address specific learning goals and individual differences.

*The teacher candidate engages students in the assessment process and encourages
them to review their own progress and learning.

Comments:

 

 

Instructional Practice TCPDF #7 Planning for Instruction:

 

To what extent does the teacher candidate: B
Danielle Sutton

Reflection Requirements
Student Teaching Experience
Fall, 2017

7, Plan instruction that supports every student in meeting rigorous learning
goals by drawing upon knowledge of content areas, curriculum, cross-
disciplinary skills and pedagogy as well as knowledge of learners and the
community context. (Performance)

*The teacher candidate uses knowledge of content, content standards, and the
curriculum to design appropriate learning experiences.

*The teacher candidate demonstrates knowledge of a range of instructional
strategies, resources, and technological tools and is capable of applying the latter

effectively to meet diverse learning needs.

*Instructional strategies demonstrate an understanding of learning theory, human
development, cultural diversity, and individual differences,

*The teacher candidate establishes appropriate short- and long-term goals.

* Teacher candidate plans for instruction based on formative and summative
assessment data, prior learner knowledge, and learner interest.

* The teacher candidate knows when and how to access resources and collaborate
with others to support student learning (e.g. special educators, language learner
specialists, media specialists, community organizations),

Comments:

 

 

Instructional Practice TCPDF #8 Instructional Strategies:

 

[ To what extent does the teacher candidate: 5} Bi

 

8. Understand and use a variety of instructional strategies to encourage
learners to develop deep understanding of content areas and their
connections and to build skills to apply knowledge in meaningful
ways.{Performance}

*The teacher candidate understands the cognitive processes associated with various
kinds of learning (e.g, critical and creative thinking, problem framing and solving,
invention, and memorization).
Danielle Sutton

Reflection Requirements
Student Teaching Experience
Fali, 2017

* The teacher candidate applies a range of developmentally, culturally, and
linguistically appropriate instructional strategies to differentiate instruction.

*The teacher candidate asks questions that stimulate discussion, probe for
understanding, help learners articulate their ideas and thinking processes, and
stimulate curiosity.

*The teacher candidate understands how content and skills can be developed
through the use of technology and media and effectively employs these to access,
interpret, evaluate, and apply information.

“The teacher candidate varies his/her role in the instructional process (e.g.
instructor, facilitator, coach, audience}.

Comments:

 

 

Professional Responsibility TCPDF #9 Professional Learning, Reflection
and Ethical Practice:

 

| To what extent does the teacher candidate:

 

9, Engage in ongoing professional learning and use evidence to continually
evaluate his/her practice, particularly the effects of his/her choices and
actions on others (learners, families, other professionals, and the learning
community), and adapt practice to meet the needs of each learner.
(Disposition)

*The teacher candidate continuously seeks opportunities for professional growth
both within the university, and through engagement with the professional
community.

**The teacher candidate takes responsibility for student learning and uses ongoing
analysis and reflection to improve planning and practice.

The teacher candidate demonstrates an appropriate work ethic; arrives on time; is

prepared; is professionally dressed, and communicates appropriately with students
and colleagues,

*The teacher candidate understands laws related to learners’ rights and teacher
responsibilities (e.g., for educational equity, appropriate education for learners with
Danielle Sutton
Reflection Requirements

Student Teaching Experience
Fall, 2017

disabilities, confidentiality, privacy, appropriate treatment of learners, reporting in
situations related to possible child abuse).

*The teacher candidate understands the expectations of the profession including
codes of ethics, professional standards of practice, and relevant law and policy.

Comments:

 

 

Professional Responsibility TCPDF #10 Leadership and Collaboration:

 

| To what extent does the teacher candidate: BI: a fa

 

10. Seek appropriate leadership roles and opportunities to take
responsibility for student learning, to collaborate with learners, families,
colleagues, other school professionals, and community members to ensure
learner growth and to advance the profession. (Disposition)

*The teacher candidate understands that alignment of family, school and community
spheres of influence enhances student learning.

*The teacher candidate knows how to work with other adults and has developed
skills appropriate for both face-to-face and virtual contexts.

*The teacher candidate engages in professional learning, contributes to the
knowledge and skill of others, and works collaboratively to advance professional
practice.

3. Dispositions
- Use the InTASC Standards and the NYS Code of Ethics (both below) to
guide your reflections in this area:

InTASC Dispositions
Below are excerpts from the InTASC Core Standards pertaining to candidate dispositions.

Standard 1: The teacher understands the central concepts, tools of inquiry, and structures
of the discipline{s) he or she teaches and can create learning experiences that make these
aspects of subject matter meaningful for students.

* The teacher realizes that subject matter knowledge is not a fixed body of facts but is
complex and ever-evolving. S/he seeks to keep abreast of new ideas and understandings
in the field.
Danielle Sutton

Reflection Requirements
Student Teaching Experience
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The teacher appreciates multiple perspectives and conveys to learners how knowiedge
is developed from the vantage point of the knower.

The teacher has enthusiasm for the discipline(s) s/he teaches and sees connections to
everyday life.

The teacher is committed to continuous learning and engages in professional discourse
about subject matter knowledge and children’s learning of the discipline.

Standard 2: The teacher understands how children learn and develop, and can provide
learning opportunities that support their intellectual, social and personal development.

The teacher appreciates individual variation within each area of development, shows
respect for the diverse talents of all learners, and is committed to help them develop
self-confidence and competence.

The teacher is disposed to use students’ strengths as a basis for growth, and their
errors as an opportunity for learning.

Standard 3: The teacher understands how students differ in their approaches to learning
and creates instructional oppartunities that are adapted to diverse learners.

The teacher believes that al] children can learn at high levels and persists in helping all
children achieve success,

The teacher appreciates and values human diversity, shows respect for students’ varied
talents and perspectives, and is committed to the pursuit of “individually configured
excellence.”

The teacher respects students as individuals with differing personal and family
backgrounds and various skills, talents, and interests.

The teacher is sensitive to community and cultural norms.

The teacher makes students feel valued for their potential as people, and helps them
learn to value each other.

Standard 4: The teacher understands and uses a variety of instructional strategies to

encourage students’ development of critical thinking, problem solving, and performance
skills.

The teacher values the development of students’ critical thinking, independent problem
solving, and performance capabilities,

The teacher values flexibility and reciprocity in the teaching process as necessary for
adapting instruction to student responses, ideas, and needs.

Standard 5: The teacher uses an understanding of individual and group motivation and
behavior to create a learning environment that encourages positive social interaction, active
engagement in learning, and self-motivation.

The teacher takes responsibility for establishing a positive climate in the classroom and
participates in maintaining such a climate in the school as whole.

The teacher understands how participation supports commitment, and is committed to
the expression and use of democratic values in the classroom.

The teacher values the role of students in promoting each other's learning and
recognizes the importance of peer relationships in establishing a climate of learning.
Danielle Sutton

Reflection Requirements
Student Teaching Experience
Fall, 2017

* The teacher recognizes the value of intrinsic motivation to students’ life-long growth
and learning.

* The teacher is committed to the continuous development of individual students’
abilities and considers how different motivational strategies are likely to encourage this
development for each student.

Standard 6: The teacher uses knowledge of effective verbal, nonverbal, and media
communication techniques to foster active inquiry, collaboration, and supportive
interaction in the classroom.

* The teacher recognizes the power of language for fostering self-expression, identity
development, and learning.

« The teacher values many ways in which people seek to communicate and encourages
many modes of communication in the classroom.

* The teacher is a thoughtful and responsive listener.

* The teacher appreciates the cultural dimensions of communication, responds
appropriately, and seeks to foster culturally sensitive communication by and among all
students in the class.

Standard 7: The teacher plans instruction based upon knowledge of subject matter,
students, the community, and curriculum goals.

« The teacher values both long term and short term planning.

* The teacher believes that plans must always be open to adjustment and revision based
on student needs and changing circumstances.

* The teacher values planning as a collegial activity.

Standard 8: The teacher understands and uses formal and informal assessment strategies
to evaluate and ensure the continuous intellectual, social and physical development of the
learner.

* The teacher values ongoing assessment as essential to the instructional process and
recognizes that many different assessment strategies, accurately and systematically
used, are necessary for monitoring and promoting student learning.

* The teacher is committed to using assessment to identify student strengths and
promote student growth rather than to deny students access to learning opportunities.

Standard 9: The teacher is a reflective practitioner who continually evaluates the effects of
his/her choices and actions on others (students, parents, and other professionals in the
learning community) and who actively seeks out opportunities to grow professionally.

* The teacher values critical thinking and self-directed learning as habits of mind.

* The teacher is committed to reflection, assessment, and learning as an ongoing process.

* The teacher is willing to give and receive help.

* The teacher is committed to seeking out, developing, and continually refining practices
that address the individual needs of students.

* The teacher recognizes his/her professional responsibility for engaging in and
supporting appropriate professional practices for self and colleagues.
Danielle Sutton
Reflection Requirements

Student Teaching Experience
Fall, 2017

Standard 10: The teacher fosters relationships with school colleagues, parents, and
agencies in the larger community to support students’ learning and well-being.

* The teacher values and appreciates the importance of all aspects of a child's experience.

* The teacher is concerned about all aspects of a child's wellbeing (cognitive, emotional,
social, and physical), and is alert to signs of difficulties.

* The teacher is willing to consult with other adults regarding the education and well-
being of his/her students.

* The teacher respects the privacy of students and confidentiality of information.
* The teacher is willing to work with other professionals to improve the overall learning
environment for students.

New York State Code of Ethics for Educators
Statement of Purpose

The Code of Ethics is a public statement by educators that sets clear expectations and
principles to guide practice and inspire professional excellence. Educators believe a
commonly held set of principles can assist in the individual exercise of professional
judgment. This Code speaks to the core values of the profession, "Educator" as used
throughout means al] educators serving New York schools in positions requiring a

certificate, including classroom teachers, school leaders and pupil personnel service
providers.

Principle 1: Educators nurture the intellectual, physical, emotional, social, and civic
potential of each student.

Educators promote growth in all students through the integration of intellectual, physical,
emotional, social and civic learning. They respect the inherent dignity and worth of each
individual. Educators help students to value their own identity, learn more about their
cultural heritage, and practice social and civic responsibilities. They help students to reflect
on their own learning and connect it to their life experience, They engage students in
activities that encourage diverse approaches and solutions to issues, while providing a
range of ways for students to demonstrate their abilities and learning. They foster the
development of students who can analyze, synthesize, evaluate and communicate
information effectively.

Principle 2: Educators create, support, and maintain challenging learning
environments for all.

Educators apply their professional knowledge to promote student learning. They know the
curriculum and utilize a range of strategies and assessments to address differences.
Educators develop and implement programs based upon a strong understanding of human
development and learning theory. They support a challenging learning environment. They
advocate for necessary resources to teach to higher levels of learning. They establish and
maintain clear standards of behavior and civility. Educators are role models, displaying the
habits of mind and work necessary to develop and apply knowledge while simultaneously
displaying a curiosity and enthusiasm for learning. They invite students to become active,
inquisitive, and discerning individuals who reflect upon and monitor their own learning.
Danielle Sutton

Reflection Requirements
Student Teaching Experience
Fall, 2017

Principle 3: Educators commit to their own learning in order to develop their
practice,

Educators recognize that professional knowledge and development are the foundations of
their practice. They know their subject matter, and they understand how students learn.
Educators respect the reciprocal nature of learning between educators and students. They
engage in a variety of individual and collaborative learning experiences essential to develop
professionally and to pramote student learning. They draw on and contribute to various
forms of educational research ta improve their own practice.

Principle 4: Educators collaborate with colleagues and other professionals in the
interest of student learning.

Educators encourage and support their colleagues to build and maintain high standards.
They participate in decisions regarding curriculum, instruction and assessment designs, and
they share responsibility for the governance of schools. They cooperate with community
agencies in using resources and building comprehensive services in support of students.
Educators respect fellow professionals and believe that all have the right to teach and learn
in a professional and supportive environment. They participate in the preparation and
induction of new educators and in professional development for all staff.

Principle 5: Educaters collaborate with parents and community, building trust and
respecting confidentiality.

Educators partner with parents and other members of the community to enhance schoo!
programs and to promote student learning. They also recognize how cultural and linguistic
heritage, gender, family and community shape experience and learning, Educators respect
the private nature of the special knowledge they have about students and their families and
use that knowledge only in the students’ best interests, They advocate for fair opportunity
for all children.

Principle 6: Educators advance the intellectual and ethical foundation of the learning
community.

Educators recognize the obligations of the trust placed in them. They share the
responsibility for understanding what is known, pursuing further knowledge, contributing
to the generation of knowledge, and translating knowledge into comprehensible forms.
They help students understand that knowledge is often complex and sometimes
paradoxical. Educators are confidantes, mentors and advocates for their students’ growth
and development. As models for youth and the public, they embody intellectual honesty,
diplomacy, tact and fairness.

This Code shall not be used as a basis for discipline by any employer and shall not be
used by the State Education Department as a basis for a proceeding under Part 83 of
Commissioner’s Regulations, nor shail it serve as a basis for decisions pertaining to
certification or employment in New York State. Conversely, this Code shall not be
interpreted or used to diminish the authority of any public school employer to
evaluate or discipline any employee under provisions of law, regulation, or collective
bargaining agreement.
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Danielle Sutton

Reflection Requirements
Student Teaching Experience
Fall, 2017

4. Pedagogy
- Use the Lesson Evaluation Form (pasted below) to guide your reflections
in this area.
 

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